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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                    Chapter 13
         Ashraful M. Islam
                                                          Bankruptcy No. 22-13182-AMC

                               Debtor

                    TRUSTEE’S MOTION TO DISMISS WITH PREJUDICE
                     PURSUANT TO 11 U.S.C. SECTIONS 105 AND 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of
Pennsylvania:

1.      Your Movant is Scott F. Waterman, Esq. the duly qualified and acting Chapter 13 Trustee
in the above-captioned case.

2.       The within case was commenced by the filing of a Chapter 13 petition on 11/29/2022.

3.       This Motion to Dismiss has been filed for the following reason(s):

         •   The Debtor(s) has/have failed to commence or continue making timely payments to
             the Trustee as required by 11 U.S.C. Section 1326.

         •   There has been unreasonable delay as defined by 11 U.S.C Section 1307(c)(1) by the
             above-captioned Debtor(s).

4.     The debtor has filed three prior bankruptcy cases, either individually, or jointly with a
spouse, as follows:

         (1) 18-13518-AMC, Chapter 13, filed by Ashraful M. Islam on May 29, 2018. The case
         was dismissed on the Trustee's Motion to Dismiss on October 3, 2018 due to the failure of
         the debtor to make plan payments.

         (2) 18-17107-AMC, Chapter 13, filed by Ashraful M. Islam on October 26, 2018. The
         case was dismissed on November 20, 2018 due to the failure of the debtor to file required
         documents.

         (3) 21-10190-AMC, Chapter 13, filed by Ashraful M. Islam on January 26, 2021. The
         case was dismissed on April 18, 2022 due to the Motion to Voluntarily Dismiss filed by
         debtor.




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        WHEREFORE, Scott F. Waterman, Esq., Standing Chapter 13 Trustee, respectfully
requests that, pursuant to 11 U.S.C. Sections 105 and 1307, the Court enter an Order dismissing
this case with prejudice and barring the debtor from filing another bankruptcy petition, either
individually or jointly with a spouse, without prior leave of Court FOR A PERIOD OF ONE
YEAR.

Date: 02/08/2023                                 Respectfully submitted,

                                                /s/ Ann Swartz, Esq.
                                                Ann Swartz, Esq.
                                                for
                                                Scott F. Waterman, Esq.
                                                Standing Chapter 13 Trusteee
                                                2901 St. Lawrence Avenue, Suite 100
                                                Reading, PA 19606
                                                Telephone: (610) 779-1313




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